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                                                                       IN THE UNITED STATES DISTRICT COURT

                                                                             FOR THE DISTRICT OF ALASKA

                                                 ROBERT TUFI,
                                                                         Plaintiff,

                                                   vs.
                                                                                                   Case No. 3:19 -cv-______ [    ]
                                                 ALTA STRIPING EQUIPMENT,
                                                 INC.                                             COMPLAINT FOR PERSONAL
                                                                         Defendant                INJURY

                                                                                                  JURY REQUESTED
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                                                         COME NOW plaintiff, ROBERT TUFI, by and through counsel of record, Flanigan
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                                                 & Bataille, and for his Complaint against defendant, ALTA STRIPING EQUIPMENT,

                                                 INC. and hereby states and alleges as follows:

                                                                           JURISDICTIONAL ALLEGATIONS

                                                         1. Plaintiffs, Robert Tufi, is a resident of the State of Alaska and is qualified to

                                                 bring this lawsuit before this Court.




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                                                       2. Defendant ALTA STRIPING EQUIPMENT, INC, upon information and belief,

                                                 is a Oregon Corporation, with its headquarters and principal place of business in Tualatin,

                                                 Oregon.

                                                       3. Defendant ALTA STRIPING EQUIPMENT, INC is in the business of designing,

                                                 manufacturing, assembling, testing, selling and distributing hot plastic highway striping

                                                 machines along, with related accessories and component parts for the striping machines,

                                                 throughout the United States, including Alaska and Washington.

                                                       4. ALTA STRIPING EQUIPMENT, INC has placed their Striping machines into

                                                 the stream of commerce with the intent and purpose of selling the striping machines in

                                                 every state in the United States, including Alaska and Washington State. On information

                                                 and belief, ALTA STRIPING EQUIPMENT, INC achieved their goals of selling the

                                                 striping machines in Alaska and Washington State.

                                                       5. This Court has personal jurisdiction over all defendants pursuant to the Alaska
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                                                 Long Arm Statute AS 09.05.015 and FRCP 4(k).
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                                                       6. This Court has subject jurisdiction pursuant to 28 USC 1332.

                                                                    ALLEGATIONS COMMON TO ALL CLAIMS

                                                       7.     On September 26, 2017, Plaintiff, Robert Tufi, an Alaskan resident, was

                                                 employed by Specialized Pavement Markings to stripe pavement in Vancouver,

                                                 Washington. His employer was using an ALTA STRIPING EQUIPMENT, INC. hot

                                                 plastic striping machine for this purpose.



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                                                          8.      Plaintiff, Robert Tufi, while operating the ALTA STRIPING EQUIPMENT,

                                                 INC. hot plastic striping machine, in a foreseeable manner, was struck by hot plastic

                                                 which belched from the striping machine, causing burn injuries and scaring to Plaintiff’s

                                                 body from contact with the hot plastic in multiple places.

                                                          9.      As a direct result of his injury, Robert Tufi incurred medical expenses,

                                                 rehabilitative expenses, lost earnings, pain and suffering, and was left with disfiguring

                                                 scars.

                                                                             FIRST CAUSE OF ACTION
                                                                (NEGLIGENCE AGAINST ALTA STRIPING EQUIPMENT, INC)

                                                          10.     Plaintiff realleges and incorporates by reference the foregoing paragraphs, as

                                                 if fully stated herein.

                                                          11.     ALTA STRIPING EQUIPMENT, INC manufactured and distributed a hot

                                                 plastic striping machine for use in striping highways and roads.

                                                          12.     The ALTA STRIPING EQUIPMENT, INC, striping machine at the time of
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                                                 Plaintiff’s injury provided for the loading of plastic pellets into a heated container, which
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                                                 liquefied the pellets, which liquid was then pumped into spray jets, which when activated

                                                 sprayed the hot plastic onto the roadway.

                                                          13.     Despite the inherent risk that the hot plastic could escape from the heated

                                                 container due to pressure, unless container was sealed once the plastic pellets were loaded

                                                 into the container, ALTA STRIPING EQUIPMENT, INC. negligently did not design or




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                                                 manufacture the heated container with a positive locking device that would prevent the hot

                                                 plastic from escaping from the heated container.

                                                        14.    ALTA STRIPING EQUIPMENT, INC had a duty to exercise reasonable

                                                 care in its design, engineering, testing, manufacture, representations, instructions,

                                                 warnings, sale, assembly of its products,

                                                        15.    ALTA STRIPING EQUIPMENT, INC breached its duty to exercise

                                                 reasonable care and was negligent in the design, engineering, testing, manufacture,

                                                 representations, instructions, warnings, sale, assembly of its products.

                                                        16.    As a proximate and legal result of the negligence of ALTA STRIPING

                                                 EQUIPMENT, INC, hot plastic belched out of the heated container on a ALTA STRIPING

                                                 EQUIPMENT, INC, hot plastic striping machine and struck the Plaintiff, causing personal

                                                 injury, in the way of burns and scaring.

                                                        17.    ALTA STRIPING EQUIPMENT, INC.’s negligence was a legal and
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                                                 proximate cause of the plaintiffs’ injuries, damages and harms and losses, including but
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                                                 not limited to Plaintiff’s past and future medical expenses, past and future lost earnings

                                                 ;past and future pain and suffering, past and future emotional distress, past and future loss

                                                 of enjoyment of life, past and future permanent disfigurement.

                                                        18.    Plaintiff’s damages, the exact amount to be proven at trial, will in any case

                                                 exceed the jurisdictional requirements of this Court.




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                                                                        SECOND CAUSE OF ACTION
                                                        (STRICT LIABILITY AGAINST ALTA STRIPING EQUIPMENT, INC)

                                                        19.     Plaintiffs reallege and incorporate by reference the foregoing paragraphs, as

                                                 if fully stated herein.

                                                        20.     The ALTA STRIPING EQUIPMENT, INC.’s hot plastic striping machine

                                                 was defective in that it lacked a positive device to prevent the hot plastic from being

                                                 ejected from the hot container, that melted the plastic pellets fed into it onto workers

                                                 foreseeably in close proximity of the machine.

                                                        21.     Other manufacturer’s of hot plastic striping machines had a positive system

                                                 to prevent the hot plastic from being ejected from the hot container, that melted the plastic

                                                 pellets fed into it onto workers foreseeably in close proximity of the machine.

                                                        22.     A positive system for preventing hot plastic from being ejected from the hot

                                                 container onto workers foreseeably in close proximity of the machine was feasible and

                                                 would have cost little to incorporate into the design of the striping machine.
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                                                        23.     Following the Plaintiff’s injury, changes were made to the hot plastic striping
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                                                 machine so as to prevent ejection of hot plastic unto workers in close proximity to the

                                                 machine, which demonstrated the feasibility of changes necessary to protect workers from

                                                 the ejection of hot plastic from the machine.

                                                        24.     ALTA STRIPING EQUIPMENT, INC is strictly liable for the accident

                                                 complained of herein and the damages proximately suffered by the Plaintiff, because the

                                                 ALTA STRIPING EQUIPMENT, INC hot plastic striping machine was not reasonably


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                                                 safe for its foreseeable use as would be contemplated by the ordinary consumer or worker

                                                 operating the machine.

                                                        25.    ALTA STRIPING EQUIPMENT, INC is strictly liable for the accident

                                                 complained of herein, and the damages proximately suffered by the Plaintiff, because the

                                                 ALTA STRIPING EQUIPMENT, INC hot plastic striping machine involved in the

                                                 Plaintiff’s accident, when they left the manufacturer’s control, deviated in a material way

                                                 from the design specifications and performance standards of the manufacturer or from

                                                 identical units of the same product line.

                                                        26.    ALTA STRIPING EQUIPMENT, INC is strictly liable for the accident

                                                 complained of herein, and the damages proximately suffered by the Plaintiffs, because the

                                                 ALTA STRIPING EQUIPMENT, INC.’s hot plastic striping machine had a design defect

                                                 that caused it to be unreasonably hazardous for its foreseeable use, due to the striping

                                                 machine’s propensity to eject hot plastic onto workers foreseeably operating the machine
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                                                 in close proximity.
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                                                        27.    ALTA STRIPING EQUIPMENT, INC is strictly liable for the accident

                                                 complained of herein, and the damages proximately suffered by the Plaintiff because the

                                                 ALTA STRIPING EQUIPMENT, INC hot plastic striping machine did not conform with

                                                 express and implied warranties of fitness for their intended purpose.

                                                        28.    ALTA STRIPING EQUIPMENT, INC is strictly liable for the accident

                                                 complained of herein, and the damages proximately suffered by the Plaintiffs, because the



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                                                 ALTA STRIPING EQUIPMENT, INC.’s hot plastic striping machine was not

                                                 accompanied by adequate instructions or warnings of the latent hazard of the machine

                                                 ejecting hot plastic unto workers in close proximity of the machine.

                                                                      THIRD CAUSE OF ACTION
                                                      (PUNITIVE DAMAGES AGAINST ALTA STRIPING EQUIPMENT, INC.)

                                                         29.    Plaintiff realleges and incorporates by reference the foregoing paragraphs, as

                                                 if fully stated herein.

                                                         30.    To the extent that the applicable law and facts developed in this case would

                                                 support an award of punitive damages, plaintiff requests that such damages be awarded in

                                                 an amount sufficient to punish and deter similar conduct by defendant, ALTA STRIPING

                                                 EQUIPMENT, INC or others similarly situated.


                                                        DATED THIS 11th DAY OF JANUARY, 2019.

                                                                                           FLANIGAN & BATAILLE
                                                                                           ATTORNEYS FOR PLAINTIFF
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                                                                                        JURY DEMAND

                                                        Comes Now Plaintiff, by and through counsel, and pursuant to FRCP 38 hereby

                                                 requests a jury to decide all triable issues in this case.

                                                                DATED THIS 11th DAY OF JANUARY, 2019.

                                                                                              FLANIGAN & BATAILLE
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